             Case 3:23-cv-00829-TLT Document 45 Filed 03/16/23 Page 1 of 5




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 9                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
10                                  SAN FRANCISCO DIVISION

11
     MILTON MENDEZ; GUILLERMO
12   MEDINA REYES; CRUZ LEANDRO                         Case No. 3:23-cv-00829-TLT
     MARTINEZ LEIVA; R.H.M.; E.O.A.R.;
13   PEDRO FIGUEROA-PADILLA; JOSE
     RUBEN HERNANDEZ GOMEZ;                             PROOF OF SERVICE
14   RAYMUNDO NOE DOMINGUEZ VIDAL;
     ROBERTO CARLOS FRANCO                              Judge Trina L. Thompson
15   GUARDADO; and all those similarly
     situated,
16
                                      Plaintiffs,
17
                          v.
18
     U.S. IMMIGRATION AND CUSTOMS
19   ENFORCEMENT; TAE JOHNSON, Acting
     Director of U.S. Immigration and Customs
20   Enforcement; MOISES BECERRA, Director of
     the San Francisco Field Office of U.S.
21   Immigration and Customs Enforcement; THE
     GEO GROUP, INC.; NORBAL VAZQUEZ,
22   Facility Administrator of Mesa Verde ICE
     Processing Center; MINGA WOFFORD,
23   Facility Administrator of Golden State Annex,

24                                     Defendants.

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                                            PROOF OF SERVICE
                                         CASE NO. 3:23-CV-00829-TLT
              Case 3:23-cv-00829-TLT Document 45 Filed 03/16/23 Page 2 of 5




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                                        PROOF OF SERVICE
                                     CASE NO. 3:23-CV-00829-TLT
                         Case 3:23-cv-00829-TLT Document 45 Filed 03/16/23 Page 3 of 5

 Attorney or Party without Attorney:                                                                             For Court Use Only
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 515 S Flower St Suite 3300
 Los Angeles, CA 90071
   Telephone No: 213-239-5100

      Attorney For:                                              Ref. No. or File No.:
                      Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF CALIFORNIA
 SAN FRANCISCO DIVISION
     Plaintiff:   MILTON MENDEZ, et al.
 Defendant:       U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, et al.

           PROOF OF SERVICE                    Hearing Date:            Time:            Dept/Div:   Case Number:
                                                                                                     3:23-cv-00829


1.    At the time of service I was at least 18 years of age and not a party to this action.

2.    I served copies of the See Attached List

3.    a.    Party served:     NORBAL VAZQUEZ, Facility Administrator of Mesa Verde ICE
      b.    Person served:    Rebecca Fuller, Assistant

4.    Address where the party was served:       425 Golden State Ave, Bakersfield, CA 93301

5.    I served the party:
      a. by substituted service.       On: Wed, Mar 15 2023 at: 02:05 PM by leaving the copies with or in the presence of:
                                       Rebecca Fuller, Assistant

       (1) (Business) a Person in charge at least 18 years of age apparently in charge of the office or usual place of business of the
       person served. I informed him or her of the general nature of the papers.
       (2) A declaration of mailing is attached.




6. Person Who Served Papers:
   a. Robert Hamilton (639, Kern County)                                        d. The Fee for Service was: $696.48
   b. FIRST LEGAL
      1517 W. Beverly Blvd.
      LOS ANGELES, CA 90026
   c. (213) 250-1111




7.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                03/16/2023
                                                                                    (Date)                            (Signature)




                                                                     PROOF OF                                                           8537507
                                                                      SERVICE                                                         (5256470)
                         Case 3:23-cv-00829-TLT Document 45 Filed 03/16/23 Page 4 of 5

 Attorney or Party without Attorney:                                                                            For Court Use Only
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 JENNER & BLOCK LLP
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 Los Angeles, CA 90071
   Telephone No: 213-239-5100

      Attorney For:                                              Ref. No. or File No.:
                      Plaintiff

 Insert name of Court, and Judicial District and Branch Court:
 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF CALIFORNIA
 SAN FRANCISCO DIVISION
     Plaintiff:   MILTON MENDEZ, et al.
 Defendant:       U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, et al.

           PROOF OF SERVICE                    Hearing Date:             Time:           Dept/Div:   Case Number:
                                                                                                     3:23-cv-00829
               By Mail
1.    I am over the age of 18 and not a party to this action. I am employed in the county where the mailing occurred.

2.    I served copies of the See Attached List

3.    By placing a true copy of each document in the United States mail, in a sealed envelope by First Class mail with postage
      prepaid as follows:
      a. Date of Mailing: Thu, Mar 16, 2023
      b. Place of Mailing: LOS ANGELES, CA 90026
      c. Addressed as follows: NORBAL VAZQUEZ, Facility Administrator of Mesa Verde ICE
                                425 Golden State Ave, Bakersfield, CA 93301

4.    I am readily familiar with the business practice for collection and processing of correspondence as deposited with the U.S. Postal
      Service on Thu, Mar 16, 2023 in the ordinary course of business.




5. Person Serving:
   a. THOMAS TILCOCK                                                  d. The Fee for Service was: $696.48
   b. FIRST LEGAL
      1517 W. Beverly Boulevard
      LOS ANGELES, CA 90026
   c. (213) 250-1111



6.    I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.




                                                                                 03/16/2023
                                                                                    (Date)                           (Signature)




                                                                 PROOF OF SERVICE                                                      8537507
                                                                     BY MAIL                                                         (5256470)
        Case 3:23-cv-00829-TLT Document 45 Filed 03/16/23 Page 5 of 5




                             Attachment to Proof of Service
          UNITED STATES DISTRICT COURT, NORTHERN DISTRICT OF CALIFORNIA
                                SAN FRANCISCO DIVISION
     MILTON MENDEZ, et al. v. U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT, et al.
                               Case Number: 3:23-cv-00829

                               List of Documents Served

1. FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF CLASS ACTION,
2. DECLARATION OF CRUZ LEANDRO MARTINEZ LEIVA IN SUPPORT OF PLAINTIFFS’ SECOND MOTION
    FOR A TEMPORARY RESTRAINING ORDER,
3. DECLARATION OF CRUZ LEANDRO MARTINEZ LEIVA IN SUPPORT OF PLAINTIFFS’ SECOND MOTION
    FOR A TEMPORARY RESTRAINING ORDER,
4. DECLARATION OF CRUZ LEANDRO MARTINEZ LEIVA IN SUPPORT OF PLAINTIFFS’ SECOND MOTION
    FOR A TEMPORARY RESTRAINING ORDER,
5. PLAINTIFFS’ NOTICE OF MOTION, MOTION AND MEMORANDUM OF POINTS AND AUTHORITIES FOR
    SECOND EX PARTE APPLICATION FOR TEMPORARY RESTRAINING ORDER CLASS ACTION,
6. DECLARATION OF RAYMUNDO NOE DOMINGUEZ VIDAL IN SUPPORT OF PLAINTIFFS’ SECOND
    MOTION FOR A TEMPORARY RESTRAINING ORDER,
7. DECLARATION OF GENNA BEIER IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
8. DECLARATION OF MICHELLE (MINJU) Y. CHO IN SUPPORT OF PLAINTIFFS’ MOTION FOR TEMPORARY
    RESTRAINING ORDER,
9. DECLARATION OF EVA UMEJIDO IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
10. DECLARATION OF R.H.M. IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
11. DECLARATION OF L. FELDERHEIM IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
12. DECLARATION OF LAURA JONES IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
13. DECLARATION OF ILYCE SHUGALL IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A TEMPORARY
    RESTRAINING ORDER,
14. DECLARATION OF KELSEY MORALES IN SUPPORT OF PLAINTIFFS’ SECOND MOTION FOR A
    TEMPORARY RESTRAINING ORDER,
15. STANDING ORDER FOR CIVIL CASES BEFORE DISTRICT JUDGE TRINA L. THOMPSON,
16. STANDING ORDER FOR ALL JUDGES OF THE NORTHERN DISTRICT OF CALIFORNIA,
17. CLERK'S NOTICE - SETTING HEARING ON [31] MOTION FOR TEMPORARY RESTRAINING ORDER.,
18. [PROPOSED] TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE
